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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

IN RE: NATIONAL PRESCRIPTION                )    MDL NO. 2804
OPIATE LITIGATION                           )
                                            )    Case No. 1:17-md-2804
THIS DOCUMENT RELATES TO:                   )
                                            )    JUDGE DAN AARON POLSTER
City of Rochester v. Purdue Pharma L.P., )
No. 19-op-45853 (Track 12)                  )
                                            )
Lincoln County v. Richard S. Sackler, M.D., )
No. 20-op-45069 (Track 13)                  )
                                            )
City of Independence, Missouri v. Williams, )
No. 19-op-45371 (Track 14)                  )
                                            )
County of Webb, Texas v. Purdue Pharma, )
L.P., No. 18-op-45175 (Track 15)            )
____________________________________)

NOTICE OF FILING REDACTED SUPPLEMENTAL AND AMENDED COMPLAINTS

       Pursuant to the Court’s February 20, 2024 Order (doc 5319), the Plaintiffs’ Executive

Committee (“PEC”) hereby provides notice of, and files into the public record, the following

redacted PBM Bellwether Plaintiffs’ supplemental and amended complaints:

       Exhibit 1: PLAINTIFF THE CITY OF ROCHESTER, NEW YORK’S
       SUPPLEMENTAL AND AMENDED ALLEGATIONS TO BE ADDED TO THE
       VERIFIED COMPLAINT AND JURY DEMAND

       Exhibit 2: PLAINTIFF LINCOLN COUNTY, MISSOURI’S SUPPLEMENTAL AND
       AMENDED ALLEGATIONS TO BE ADDED TO COMPLAINT

       Exhibit 3: PLAINTIFF CITY OF INDEPENDENCE, MISSOURI’S SUPPLEMENTAL
       AND AMENDED ALLEGATIONS TO BE ADDED TO COMPLAINT

       Exhibit 4: PLAINTIFF WEBB COUNTY, TEXAS’ SUPPLEMENTAL AND
       AMENDED ALLEGATIONS TO BE ADDED TO SECOND AMENDED
       COMPLAINT
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        As a result of the PEC’s confidentiality challenges and the resulting ruling,1 the attached

PBM Bellwether Plaintiffs’ supplemental and amended complaints, exhibits 1-4 hereto, can now

be filed publicly with redactions in two paragraphs of each document.

Dated: March 6, 2024                                 Respectfully submitted,

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1
 Special Master Cohen ruled that the PBM Defendants Express Scripts, Inc.’s and OptumRx, Inc.’s
proposed redactions were unsupported with the exception of two paragraphs from each complaint.
See Order Regarding Disputed Redactions (ECF No. 5287-1).
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                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 6th day of March, 2024, I have electronically filed the
foregoing with the Clerk of Court using the CM/ECF System. Copies will be served upon counsel
of record by, and may be obtained through, the Court’s CM/ECF System.

                                                 s/Peter H. Weinberger
                                                 Peter H. Weinberger
